          Case 3:06-cv-00435-AWT Document 5 Filed 04/21/06 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

ARTHUR J. PALMIERI JR.

v.                                                  CASE NO. 3:06CV 435 (AWT)

REINER, REINER & BENDETT, P.C.                             April 21, 2006
ADAM L. BENDETT

                                    NOTICE OF DISMISSAL

           Pursuant to Rule 4l(a)(l), plaintiff hereby dismisses the within action

without costs or fees to any party.

                                                    THE PLAINTIFF



                                                     BY_____/s/ Joanne S. Faulkner_____
                                                     JOANNE S. FAULKNER ct04137
                                                       123 Avon Street
                                                     New Haven, CT 06511-2422
                                                      (203) 772-0395



      This is to certify that a copy of the foregoing was mailed on April 21, 2006, postage prepaid,
to:

Charles Basil
Reiner Reiner & Bendett
160 Farmington ave
Farmington CT 06032-1772


                                           _______/s/ Joanne S. Faulkner
                                                   Joanne S. Faulkner Esq.
